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AO 9l (Rev 1lfl1) Criminal Complaint (appro•·ed by AUSA M_ Fulcher)                                        C&W#20-15



                                     UNITED STATES DISTRICT COURT
                                                                      for the
                                                   Eastern District of Pennsylvania

                 United States of America                                 )
                               v.                                         )
                   Rafael Vega-Rodriguez                                  )
                                                                          )
                                                                                CaseNo. 20•     33"-/-fY)
                                                                          )
                                                                          )
                                                                          )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     March 2, 2020                    in the county of                  Berks        in the
      Eastern          District of           Pennsylvania             , the defendant(s) violated:

             Code Section                                                          Offense Description
 18 U.S.C. §§ 1114. 111(a) and (b),              Kills or attempts to kill an officer or employee of the United States. Forcibly
 922(g), 924(c)                                  assault, resist, oppose, impedes, intimidate, or interfere with person on official
                                                 duties, uses or carries a firearm.




          This criminal cotnplaint is based on these facts:
 SEE ATIACHED AFFIDAVIT.




          i!f Continued on the attached sheet.


                                                                                                     Complainant's signature

                                                                                           SA Christopher M. Duncanson, FBI


Sworn to before me and signed in my presence.


Date:             03/02/2020
                                                                                                        Judge's signature

                                         Allentown, PA                              The Hon. Henry S. Perkin, U.S. Magistrate Judge
City and state:
                                                                                                      Printed name and title
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                                           AFFIDAVIT

       I, Christopher M. Dilllcanson, being duly sworn and state as follows:

                                        INTRODUCTION

                 l.    I am a Special Agent of the Federal Bureau of Investigation (FBI), United

States Department of Justice. I have been employed as a Special Agent of the FBI since

September, 2004. I am currently assigned to the Philadelphia Division, Allentown Resident

Agency, working cases involving violations of federal law. While employed by the FBI, I have

investigated various federal criminal violations including violent incident crimes. I have gained

experience through training and everyday work related to conducting these t;rpes of

investigations. As a federal agent, I am authorized to investigate violations of laws of the United

States and am a "federal law enforcement officer" within the meaning of Fed. R. Crim. P.

4l(a)(2)(C).

                 2.    This affidavit is being made in support of an application for a criminal

complaint and arrest warrant charging the defendant RAFAEL VEGA-RODRIGUEZ ("Vega-

Rodriguez") with violations of Title 18 U.S.C. §§ 1114, 11 l(a) and (b), 922 (g), and 924(c).

                 3.    The statements in this affidavit are based in part on my investigation of

this matter and on information provided by other law enforcement officers. Because this

affidavit is being submitted for the limited purpose of securing a criminal complaint and arrest

warrant, I have not included each and every fact known to me concerning this investigation. I

have set forth only those facts that I believe are necessary to establish probable cause to believe




                                                  I
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that violations of 18 U.S.C. §§ 1114, 111 (a) and b, 922(g), and 924(c) have been committed, by

the defendant Vega-Rodriguez.

                                     APPLICABLE STATUTES

               4.      Title 18 United States Code Section 1114 makes it a crime to attempt to kill

any officer or employee of the United States while such officer or employee is engaged in the

performance of his official duties

               5.      Title 18, United States Code, Sections 111 (a) and (b) makes it a crime to

forcibly assault, resist, oppose, impedes, intimidate, or interfere with any person designated in 18

U .S.C. § 1114 while engaged in or on account of the performance of official duties.

               6.      Title 18, United States Code, Section 922 (g) makes it a crime for any

person who has been convicted of a felony offense to possess a firearm.

               7.      Title 18, United States Code, Section 924 (c) makes it a crime for any

person, who, during and in relation to any crime of violence for which the person may be

prosecuted in a court of the United States, uses or carries a firearm.

             BACKGROUND OF THE INVESTIGATION AND PROBABLE CAUSE

               8.      On March 1, 2020, at approximately 6:00 pm, FBI SAs were conducting

surveillance in the area Greenwich and Gordon Streets, Reading, PA.              The agents were

investigating a series of federal and state crimes believed to have been committed by Vega·

Rodriguez.

               9.      On March 1, at approximately 11:45 pm, an FBI SA saw two individuals

walking in the area of Schuylkill and Greenwich Avenues towards Gordon Street, Reading, PA.


                                                  2
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The FBI SA recognized one of the two individuals as Vega-Rodriguez. The FBI SA notified other

FBI SAs participating in the surveillance of the location of Vega-Rodriguez and the other

individual ("Person #2). At approximately the same time, another FBI SA participating in the

surveillance also identified Vega-Rodriguez as one of the two individuals walking on Schuylkill

A venue towards Gordon Street.

               10.     At this time, two FBI SAs approached Vega-Rodriguez and Person #2 and

called out to them. The two FBI SAs were wearing vests stating FBI in reflective yellow on the

front and back of their vests. Vega-Rodriguez immediately drew a handgun and began shooting

at the FBI SAs. An FBI SA returned fire as Vega-Rodriguez continued to point his gun at the FBI

SAs as both Vega-Rodriguez and Person #2 fled. One of the FBI SAs observed Vega-Rodriguez

and Person #2 running together and turning on to Gordon Street.

               11.     I have been informed by another FBI SA that seven (7) shell casings were

collected from the scene of the shooting. I have further been informed by another FBI SA that it

is believed that three (3) of the shell casings were fired by the FBI and four (4) were fired by Vega-

Rodriguez.

               12.     Vega-Rodriguez is a convicted felon \Vhose criminal history includes felony

convictions for Pennsylvania state firearms offenses.




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                                        CONCLUSION

              13.      Based on the foregoing, there is probable cause to believe that RAFAEL

VEGA-RODRIGUEZ violated the federal criminal statutes cited herein.

                                            Respectfull       itted,




                                            Special Agent, Federal Bureau of Investigation

Sworn and subscribed
Before me is ;Qj}
day of Mar h 2020.



HONORABLE HENRY S. PERKIN
United States Magistrate Judge




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